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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                COOKEVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )              Case No. 1:11-00010 - 004
v.                                         )              JUDGE SHARP
                                           )
JERAMIE HILL                               )

             UNITED STATES' MOTION TO PLACE DOCUMENT UNDER SEAL


       Comes now the United States, by and through the undersigned, and requests the court

allow the filing of a pleading, contemporaneously filed herewith, under seal. A copy of the

sealed pleading will be served via email on Thomas Drake Counsel for defendant Hill.


                                                   Respectfully submitted,

                                                   DAVID RIVERA
                                                   UNITED STATES ATTORNEY

                                                   /s/Van S. Vincent
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 Case 1:11-cr-00010       Document 243         Filed 09/09/14   Page 1 of 1 PageID #: 879
